Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 1 of 13 PageID #: 1130




                            IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF KENTUCKY
                                    LOUISVILLE DIVISION

   DARREN BRASHER, et al.         :
   Individually and on            :
   behalf of all others similarly situated,
                                  :                     Case No. 3:19-CV-00296-BJB-RSE
                                  :
               Plaintiffs,        :
                                  :                     Magistrate Judge Regina S. Edwards
   v.                             :
                                  :
   GANNETT CO. INC., GANNETT      :
   SATELLITE INFORMATION NETWORK, :
   LLC, and GCOE, LLC

                     Defendants.


                       DECLARATION OF ROBERT E. DEROSE
   ______________________________________________________________________________

             I, Robert E. DeRose, declare, under penalty of perjury and pursuant to 28 U.S.C. § 1746,

   that the following facts are true and correct:

             1.      I make this declaration in support of the Parties’ Joint Motion for Settlement

   Approval, and in support of the attorney fees and costs incurred to date in representing Plaintiffs

   in this matter.

             2.      I am a partner at the law firm of Barkan Meizlish DeRose Wentz McInerney Peifer,

   LLP, (“Barkan Meizlish, LLP” or the “Firm”) which represents Plaintiff in the above-captioned

   matter.

             3.      I have represented employees and consumers in class and collective action lawsuits

   for more than fifteen years. Barkan Meizlish, LLP has handled numerous cases on behalf of

   employees and injured persons throughout the country, including a significant number of FLSA

   collective action cases on behalf of workers. The lawyers of Barkan Meizlish, LLP have recovered

   tens of millions of dollars in these cases on behalf of our clients. These cases are expensive to
                                                   1
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 2 of 13 PageID #: 1131




   pursue and require a tremendous amount of time and resources. As a result, this practice is

   inherently risky, since the firms are only paid attorneys’ fees and expenses if a positive result is

   obtained on behalf of the clients. In this case in particular, the Plaintiffs and Counsel agreed to a

   40% contingency fee.

              4.       It is Barkan Meizlish, LLP’s practice to maintain detailed and contemporaneous

   records of all billable casework performed by attorneys and staff.1

              5.       Barkan Meizlish, LLP attorneys, particularly Jessica R. Doogan and I, along with

   several staff members, spent approximately 20.53 hours on this matter, and efforts were made to

   ensure there was no duplicative work. Barkan Meizlish, LLP’s lodestar in this matter is $7,040.20.

                                                                                            Total
                            Name                             Title                          Hours
                            Robert E. DeRose                 Partner                         5.57
                            Jessica R. Doogan                Associate                       4.26
                                                             Paralegals                     10.70
                                                             TOTAL                          20.53

              6.       Barkan Meizlish, LLP can trace its roots to 1948, when Irwin W. (“I.W.”) Barkan

   started practicing workers’ compensation law in Columbus, Ohio. The history of the present-day

   firm started in 1957 with the formation of the Barkan & Barkan partnership comprised of I.W. and

   his cousin, Irving Barkan. Barkan Meizlish Handelman Goodin DeRose Wentz, LLP, with offices

   in Ohio, Florida, and Pennsylvania is a unique plaintiffs’ practice. For over fifty years, the Firm

   has fulfilled its commitment to provide quality legal services to working people, focused on union

   side labor law, wage and hour/overtime litigation, consumer litigation, worker’s compensation,

   Social Security disability, and personal injury/medical malpractice.

              7.       Barkan Meizlish, LLP has been ranked as a Best Law Firm by U.S. News & World

   Report since 2010. Barkan Meizlish, LLP received a First Tier ranking on the Best Law Firms list


   1
       Detailed time records can be made available for the Court’s in camera inspection should it so require.
                                                               2
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 3 of 13 PageID #: 1132




   in Columbus for Litigation-Labor and Employment by US News-Best Lawyers since 2013. Our

   law firm and individual firm members appear on lists of the best law firms and attorneys in the

   nation.

             8.    Through Barkan Meizlish, LLP’s representation of labor unions, individual

   employees, the injured and disabled, we protect the rights of working people on and off the job.

   The firm skillfully represents our clients' interests in federal and state court, before federal and

   state administrative agencies, at the collective bargaining table, and in state legislatures and

   Congress.

             9.    In addition to handling individual cases, Barkan Meizlish, LLP currently is or has

   recently been lead or co-counsel in more than 20 complex class or collective actions in state and

   federal courts across the country, many of which have been certified as collective or class actions.

   The Firm has been appointed class counsel or served as counsel for a FLSA collective in hundreds

   of class and collective actions throughout its years of practice. The Firm Profile is attached as Ex.

   1.

             10.   In addition to the significant monetary recoveries Barkan Meizlish, LLP has

   obtained for its clients, Barkan Meizlish, LLP wage-and-hour litigation has also resulted in

   significant developments in the law. For example, the Smith case was the first decision to adopt

   the idea of representative discovery in FLSA collective actions. Smith v. Lowes Home Ctrs., 236

   F.R.D. 354, 357-58 (S.D. Ohio 2006). In Lewis, et al. v. Huntington National Bank, Case No. C2–

   11–CV–0058, 838 F.Supp.2d 703 (S.D. Ohio 2012), Barkan Meizlish, LLP represented mortgage

   loan officers which resulted in the first decision that upheld the DOL’s 2010-1 Administrative

   Interpretation. In Hughes et al v. Gulf Interstate Field Services, Inc. 878 F.3d 183 (6th Cir. 2017),

   Barkan Meizlish, LLP represented pipe-line construction workers paid a salary calculated on a



                                                    3
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 4 of 13 PageID #: 1133




   “day rate” basis. The Sixth Circuit reversed the lower court by finding that a “day rate” could be

   constituted a guaranteed weekly salary.

          11.     Legal fees for Barkan Meizlish, LLP have been regularly approved by Sixth Circuit

   district courts in similar and more complex cases. See, e.g. Sniffen v. Spectrum Indus. Servs. Barkan

   Meizlish, LLP has been appointed class counsel in numerous federal courts in wage/overtime

   cases. See, e.g. Cox, et al., v. Healthcare Services Group, Inc. 3:13-cv-00293-JZ (Doc. Entry No.

   130) (N. D. OH November 17, 2014); Lewis et al., v. Huntington National Bank, Inc., 2:11-cv-

   00058-ALM-TPK (Doc. Entry No. 151) (S.D. OH May 30, 2013); Konnagan, et al,. v. Koch Foods

   of Cincinnati, LLC, 1:10-cv-00774-MRB (Doc. Entry No. 81) (S.D. OH December 16, 2011); and,

   Weatherly et al., v. Michael Foods, Inc, et al. 8:08-cv-00153-JFB-TDT (Doc. Entry No. 69) (Dist.

   Neb. April 15, 2009). Several federal courts have issued opinions commenting on Barkan Meizlish,

   LLP's work in wage/overtime lawsuits. See, Kritzer, et al., v. Safelite Solutions, LLC, et al., 2:10-

   cv-00729-GLF-NMK (Doc. Entry No. 114) (S.D. OH May 30, 2012) ("The Court is also aware

   that counsel of the Plaintiff class has considerable experience litigating wage and overtime class

   actions. Plaintiffs' counsel has also pursued vigorously the claims in this action, further

   demonstrating adequate representation of not only the class representatives but the class as a

   whole."); Lewis v. Huntington National Bank, (Opining that Barkan Meizlish, LLP are "skilled

   trial attorneys with experience litigating" wage and overtime cases.); Heibel, et al., v. U.S. Bank

   National Assoc., 2:11-cv-00593 (Doc. # 164) ( S.D. OH May 21, 2014) ("This Court finds that the

   Class has at all times been adequately represented by the Class Representatives and Class

   Counsel.") Craig v. Rite Aid Corp., 2013 U.S. Dist. LEXIS 2658, *45 (M.D. Pa. Jan 7, 2013)

   (observing that Barkan Meizlish, LLP and its co-counsel "are experienced wage and hour class

   action litigators with decades of accomplished complex class action between them and that the

   Class Members have benefitted tremendously from able counsel's representation").

                                                    4
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 5 of 13 PageID #: 1134




           12.    I was admitted to practice in 1991. I received a B.A. from Washington & Jefferson

   College and a J.D. from University of Dayton School of Law. I am a member of the bar in the

   State of Ohio and the Commonwealth of Pennsylvania. I am admitted to practice in the following

   federal district courts: District of Colorado, Northern District of Ohio, Southern District of Ohio,

   Eastern District of Pennsylvania, Middle District of Pennsylvania, the Western District of

   Pennsylvania, the District Court of Colorado and the District Court of Maryland. I am also

   admitted to practice in the Third, Fourth and Sixth Circuit Courts of Appeals and United States

   Supreme Court. I have tried several cases to verdict. I have represented loan officers in litigation

   to recover overtime pay in at least four (4) different cases. I frequently speak at conferences

   regarding the FLSA and class and collective litigation. Within the past few years, I have given

   speeches at meetings of the American Association for Justice, the Workplace Injury Law and

   Advocacy Group, the Ohio Association for Justice, and the Ohio AFL-CIO. I sit on the board of

   the Ohio Legal Assistance Foundation, the University of Dayton School of Law Alumni

   Foundation, and the Diane Crawford Cervical Cancer Foundation. My bio and profile are attached

   as Ex. 2.

           13.    Many attorneys and staff members worked on this case at various points due to

   turnover, complexity of the case and not duplicative work or overstaffing. Several staff members,

   including paralegals worked on this file. As explained more fully below, the work of these

   employees was integral to the success of the case.

           14.    Plaintiffs’ Counsel took this case on a contingency basis only. We have not been

   compensated for any time or expense since the litigation began, but we were prepared to invest

   our time and resources with the very real possibility of an unsuccessful outcome and no fee of any

   kind.



                                                    5
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 6 of 13 PageID #: 1135




          15.     To date, Barkan Meizlish, LLP incurred a total of $5,648.50 in costs and expenses

   in connection with this litigation.

          16.     Prior to filing this suit, myself and my staff spent significant time speaking with

   our fellow counsel with Anderson Alexander, PLLC about the facts of this case and to determine

   whether Defendants violated the FLSA. We did not take this decision lightly as the expenses

   associated with commencing a suit such as this are expensive.

          17.     This lawsuit was filed by Plaintiffs on January 21, 2019. We responded to written

   discovery and presented Plaintiff Nicole Love for her deposition. The Court granted Plaintiffs’

   Motion to Conditionally Certify Collective Action and Court-Authorized Notice on January 22,

   2021. Both parties jointly filed Motion to Stay Proceedings Pending Mediation on March 5, 2021.

   The Court granted this motion on March 8, 2021. Both parties jointly filed Notice of Settlement

   on May 1, 2021. During informal discovery, we exchanged relevant information pertinent to the

   class and created a detailed damage model based on that information.

          18.     Before the conclusion of discovery, the parties met for their second voluntary

   mediation on April 28, 2021. The parties engaged in extensive day long negotiations. With the

   mediator’s, Dennis Clifford’s, assistance the parties found a mutually agreeable settlement.

          19.     If this case was not contemporaneously settled, there would undoubtedly be

   extensive future work to come, including dispositive motions, depositions, associated discovery

   disputes including possible subpoenas to a substantial number of third-parties, questions regarding

   applicability of the FLSA, good faith, willfulness, decertification, pretrial motions, trial, and

   potential appellate issues.




                                                   6
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 7 of 13 PageID #: 1136




           20.      Named Plaintiff Love agrees that the offer from Defendants was in the best interest

   of the Plaintiffs. Furthermore, I believe that the settlement is in the best interest of all Plaintiffs as

   well.

           21.      Nicole Love expended much time and effort from the beginning of this lawsuit as

   Named Plaintiff and class representatives and the agreed settlement contemplates compensation

   of $5,000.00 for her services. Named Plaintiff Love responded to written discovery, provided

   deposition testimony under oath, and executed a general release of her claims against Defendants.

   She was also willing to affix her name to the lawsuit to vindicate the rights of her fellow class

   members.

           22.      Attached hereto are true and correct copies of the following exhibits:

                    Exhibit 1:     Barkan Meizlish, LLP’s Firm Resume.

                    Exhibit 2:     Profile and Bio of Robert E. DeRose.

   I HEREBY DECLARE, UNDER PENALTY OF PERJURY AND PURSUANT TO

   28 U.S.C. § 1746, THAT THE ABOVE FACTS ARE TRUE AND CORRECT.


     June 4, 2021
   __________________                                       ________________________________
   Date                                                     Robert E. DeRose




                                                       7
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 8 of 13 PageID #: 1137




                          Exhibit 1
      Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 9 of 13 PageID #: 1138
10/5/2020                                                  About - Barkan Meizlish



  Our Firm
  The law firm of Barkan Meizlish, LLP is over sixty years old, with a national practice, focused on Union Side labor
  law, wage and hour/overtime litigation, Ohio workers’ compensation, Social Security Disability, and personal
  injury/medical malpractice. Our law firm and individual law firm members appear on lists of the best law firms and
  attorneys in the nation.

  Through our representation of labor unions, individual employees, the injured and the disabled, we protect the rights
  of working people on and off the job. The firm skillfully represents our clients’ interests in federal and state court,
  before federal and state administrative agencies, at the collective bargaining table, and in state legislatures and the
  United States Congress. The attorneys and professional staff of Barkan Meizlish, LLP are fully committed to securing
  justice for all of our clients. Our results speak for themselves.

  Our Union Side labor law attorneys represent a wide array of labor unions at the local and national level. We negotiate
  collective bargaining agreements on behalf of unions in a variety of industries, including aviation, ground
  transportation, manufacturing, health care and the public sector. We enforce those contracts in arbitration and federal
  and state court and assist our union clients with organizing, communications, membership education, legislation and
  regulatory compliance.

  The firm’s national wage and hour/overtime practice is dedicated to the fundamental principle that working people
  should be properly paid for all of their labor. We represent employees in individual and class action litigation. Our
  attorneys have recovered wages for tens of thousands of employees who have been unlawfully denied their right to
  overtime pay. We have further committed ourselves to the effort to reform federal and state law so that employees
  received the wages they are owed and violators are held accountable.

  Our firm’s workers’ compensation practice has successfully assisted tens of thousands of injured employees, in
  recovering workers’ compensation benefits. Workplace related injuries and illnesses could have a devastating
  consequence for an employee. Our workers’ compensation attorneys represent clients throughout the entire litigation
  process and work with other highly-skilled workers’ compensation attorneys in all fifty states.

  We manage one of the largest and most successful Social Security Disability Insurance practices in the United States.
  A disability may permanently prevent an individual from performing any work. Our Social Security attorneys have won
  disability awards for tens of thousands of clients and have been recognized for their professionalism and compassion
  by their fellow practitioners across the nation.

  Barkan Meizlish, LLP represents individuals in serious personal injury and medical malpractice cases. Our trial
  attorneys have been handling complex torts for decades. Despite changes in the law that have made it more difficult
  for victims to obtain the compensation to which they are entitled, our attorneys continue to succeed in obtaining
  judgments and compensation for those who have been injured by the negligence of others.




https://barkanmeizlish.com/about/                                                                                       1/1
Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 10 of 13 PageID #:
                                    1139




                        Exhibit 2
             Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 11 of 13 PageID #:
10/5/2020                              Bob DeRose - Ohio 1140
                                                         Association for Justice - Barkan Meizlish, LLP




    Bob DeRose
    Managing Partner

        Phone : 614-221-4221


            Email : bderose@barkanmeizlish.com

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    9 Columbus, OH 43215
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    Bob DeRose is the Managing Partner at Barkan Meizlish, LLP. He practice consists of wage and hour/overtime issues, employment issues and complex
    litigation.

    Mr. DeRose has dedicated his time and practice to pursuing the rights of workers, as displayed by serving on the executive committee of the Columbus
    Jobs with Justice and was formerly the President of the Greater Columbus Workers Rights Board. He has also served on the National Board of Directors
    for Interfaith Worker Justice, based in Chicago.

    Bob is also the former president of the Workers Injury Law and Advocacy Group (WILG), which is a national organization of lawyers based in Washington,
    D.C. committed to representing workers and their families. Further, he was formerly the president of the Ohio Association for Justice and a member of the
    American Association for Justice (AAJ) and participates in the AAJ Leaders Forum.

https://barkanmeizlish.com/attorney/bob-derose/                                                                                                             1/3
         Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 12 of 13 PageID #:
10/5/2020                          Bob DeRose - Ohio 1141
                                                     Association for Justice - Barkan Meizlish, LLP
    Mr. DeRose is a co-author of 2005-2006 Ohio Workers Compensation Law, a Practice Guide, which is used by many of his colleagues in their Ohio
    Workers Compensation practices. His success is displayed throughout his many achievements and awards.



        Honors & Community Involvement

        2014 – Recipient of OAJ’s President Award

        2012 – Recipient of OAJ’s Distinguished Service Award

        2010-2019 – Named to the Best Lawyers in America by U.S. News and World Report

        2009 – Recipient of WILG’s President’s Award

        2009 – Named the Ohio Democrat of the Year by the state Ohio Democratic Party

        2007-2015 – Named a Top 100 Trial Lawyer in Ohio by the National Trial Lawyers Association

        2005-2019 – Named an Ohio Super Lawyer by Columbus Monthly




        Areas of Practice

        FLSA/ Wage & Hour Issues




        Education

        Economics, Washington and Jefferson College, 1988

        Law Degree, University of Dayton School of Law, 1991




        Bar & Admissions
        United States Supreme Court
        Ohio Supreme Court
        Common Wealth Court of Pennsylvania

        United States District Court of Colorado

        United States District Court of Maryland

        United States District Court Southern District of Ohio
        United States District Court Northern District of Ohio

        United States District Court Eastern District of PA
        United States District Court Middle District of PA
        United States District Court Western District of PA



https://barkanmeizlish.com/attorney/bob-derose/                                                                                                 2/3
         Case 3:19-cv-00296-BJB-RSE Document 136-3 Filed 06/04/21 Page 13 of 13 PageID #:
10/5/2020                          Bob DeRose - Ohio 1142
                                                     Association for Justice - Barkan Meizlish, LLP
        United States Court of Appeals Third Circuit
        United States Court of Appeals Fourth Circuit
        United States Court of Appeals Sixth Circuit
        United States Court of Appeals Tenth Circuit




        Professional Associations

        AFL-CIO Lawyers Coordinating Committee

        American Association for Justice

        Ohio Association for Justice

        Workplace Law & Advocacy Group

        Central Ohio Association for Justice

        Ohio State Bar Association

        National Employment Lawyers Association




https://barkanmeizlish.com/attorney/bob-derose/                                                       3/3
